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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 PATRICIA KENNEDY,

                      Plaintiff,

 v.                                           Case No. 20-CV-00355-NJR

 JAI YOGESHWAR LODGING, LLC
 d/b/a AMERICAS BEST VALUE INN
 WEST FRANKFORT,

                      Defendant.


                       JUDGMENT IN A CIVIL ACTION

DECISION BY THE COURT.

      IT IS ORDERED AND ADJUDGED that pursuant to the Notice of Voluntary

Dismissal dated June 25, 2020 (Doc. 9), this action was DISMISSED with prejudice

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

      DATED: June 26, 2020

                                                MARGARET M. ROBERTIE,
                                                Clerk of Court

                                                By: s/ Deana Brinkley
                                                       Deputy Clerk


APPROVED: s/ Nancy J. Rosenstengel
          NANCY J. ROSENSTENGEL
          Chief U.S. District Judge
